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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

  Civil Action No. 10-cv-02641-REB-MEH

  BERLINDA TRUJILLO,

                Plaintiff,

  v.

  PORTFOLIO RECOVERY ASSOCIATES, LLC, a Delaware limited liability company,

                Defendant.


                                   NOTICE OF SETTLEMENT


         COMES NOW the Plaintiff by and through her counsel of record and for her Notice

  of Settlement, hereby states:

  1.     The Plaintiff and the Defendant have reached a settlement.

  2.     The settlement document has been executed by the parties.

  3.     The Plaintiff will be filing a Notice of Dismissal with Prejudice with each party to pay

         its own attorney’s fees and costs once the Plaintiff has received the settlement

         funds. The parties expect this to happen by December 10, 2010.

  Dated: November 23, 2010.

  Respectfully Submitted,

  s/ David M. Larson
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  David M. Larson, Esq.
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  Colorado Springs, Colorado 80903
  Telephone: (719) 473-0006
  Attorney for the Plaintiff
